Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 1 of 17 Page ID #:114



  1

  2

  3

  4

  5

  6

  7

  8                         UNITED STATES DISTRICT COURT

  9                        CENTRAL DISTRICT OF CALIFORNIA

 10

 11    ANTONIO MENDOZA,                      Case No. EDCV 19-0106 JLS (SS)

 12                      Petitioner,
                                             REPORT AND RECOMMENDATION OF
 13          v.
                                             UNITED STATES MAGISTRATE JUDGE
 14    FRANCISCO J. QUINTANA, Warden,

 15                      Respondent.

 16

 17

 18         This Report and Recommendation is submitted to the Honorable

 19   Josephine L. Staton, United States District Judge, pursuant to 28

 20   U.S.C. § 636 and General Order 05-07 of the United States District
 21   Court for the Central District of California.

 22

 23                                        I.

 24                                   INTRODUCTION

 25

 26         On January 9, 2019, Petitioner Antonio Mendoza (“Petitioner”),
 27   a federal prisoner located at Federal Correctional Institution in

 28   Victorville, California, proceeding pro se, filed a Petition for
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 2 of 17 Page ID #:115



  1   Writ Of Habeas Corpus under 28 U.S.C. § 2241, (“Petition,” Dkt.

  2   No. 1), along with a supporting Memorandum.         (“Petition Mem.,” Dkt.

  3   No. 2).1     The Petition purports to challenge Petitioner’s 2008

  4   conviction and sentence in the Southern District of Indiana.            (Id.

  5   at 2).   On February 20, 2019, Respondent filed a Motion to Dismiss

  6   the Petition, along with a supporting Memorandum.               (“Motion to

  7   Dismiss,” Dkt. No. 6).        Respondent contends that the Petition is

  8   actually a disguised, successive 28 U.S.C. § 2255 motion that this

  9   Court lacks jurisdiction to consider.           (Id. at 5-14).      On April

 10   11, 2019, Petitioner filed an opposition to the Motion to Dismiss.

 11   (“Opposition,” Dkt. No. 10).

 12

 13         For   the    reasons    discussed   below,   the   Petition   must    be

 14   construed as a motion under § 2255.        Therefore, Petitioner’s claim

 15   can be considered only by the sentencing court, i.e., the Southern

 16   District of Indiana.         However, transfer is inappropriate because

 17   the Petition, construed as a § 2255 motion, is untimely and

 18   successive.       Accordingly, the Court recommends that Respondent’s

 19

 20
 21

 22   1    Under the “mailbox rule,” a pleading filed by a pro se prisoner
      is deemed filed on date the prisoner delivers it to prison
 23   authorities for mailing. Houston v. Lack, 487 U.S. 266, 270 (1988).
      Here, the Petition lacks a proof of service. However, Petitioner
 24   appears to have signed the Petition on January 9, 2019. (Petition
 25   at 9). Therefore, the Court will deem the Petition filed on that
      date. See Butler v. Long, 752 F.3d 1177, 1178 n.1 (9th Cir. 2014)
 26   (“We assume that [petitioner] turned his petition over to prison
      authorities on the same day he signed it and apply the mailbox
 27   rule.”). (Citations to the Petition refer to the pages assigned
      by the Court’s electronic case filing system.)
 28

                                            2
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 3 of 17 Page ID #:116



  1   Motion to Dismiss be GRANTED, the Petition be DENIED, and this

  2   action be DISMISSED without prejudice for lack of jurisdiction.

  3

  4                                         II.

  5                                PRIOR PROCEEDINGS

  6

  7         On July 2, 2008, a jury in the Southern District of Indiana

  8   convicted    Petitioner     of   conspiracy    to   possess    and   distribute

  9   methamphetamine and possession with intent to distribute.                United

 10   States v. Mendoza, No. CR 04-0155 (S.D. Ind.); see also Mendoza v.

 11   United States, 2013 WL 3895231, at *5 (S.D. Ind. July 26, 2013).2

 12   The Court sentenced Petitioner to life imprisonment, which was “the

 13   mandatory    minimum   sentence      given    the   quantity   of    drugs    and

 14   [Petitioner’s]     prior    felony   convictions.”       United      States    v.

 15   Mendoza, 346 F. App’x 112, 114 (7th Cir. 2009). The Seventh Circuit

 16   dismissed Petitioner’s direct appeal on October 6, 2009.                Id. at

 17   116-17.

 18

 19         On January 3, 2011, Petitioner filed a motion pursuant to 18

 20   U.S.C. § 2255.     See Mendoza v. United States, No. CV 11-018, Dkt.
 21   No. 1 (S.D. Ind.).         On July 29, 2013, the Southern District of

 22   Indiana denied Petitioner’s § 2255 motion.             See id., Dkt. No. 8;

 23   2    The Court takes judicial notice of Petitioner’s prior
      proceedings in the Seventh Circuit. See In re Korean Air Lines
 24   Co., Ltd., 642 F.3d 685, 689 n.1 (9th Cir. 2011) (a court may take
 25   judicial notice of a court’s own records in other cases and the
      records of other courts); see also United States ex rel. Robinson
 26   Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th
      Cir. 1992) (“[Courts] may take notice of proceedings in other
 27   courts, both within and without the federal judicial system, if
      those proceedings have a direct relation to matters at issue.”).
 28

                                             3
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 4 of 17 Page ID #:117



  1   see also 2013 WL 3895231, at *5.            On appeal, the Seventh Circuit

  2   found no showing of the denial of a constitutional right and denied

  3   Petitioner’s request for a certificate of appealability.             Mendoza

  4   v. United States, No. 13-2769, Dkt. No. 14 (7th Cir. Dec. 19,

  5   2013).      On   March   13,   2014,    Petitioner   filed   a   “motion    for

  6   reconsideration” in the Southern District of Indiana pursuant to

  7   Federal Rule of Civil Procedure 60(b), which the district court

  8   construed as another § 2255 motion.          Mendoza v. United States, No.

  9   CV 14-0701, Dkt. No. 2 (S.D. Ind.).           The court denied the motion

 10   as successive on May 9, 2014. Id., Dkt. No. 3. The Seventh Circuit

 11   subsequently dismissed Petitioner’s appeal for failure to pay the

 12   required fees.     Mendoza v. United States, No. 14-2143, Dkt. No. 3

 13   (7th Cir. July 30, 2014).

 14

 15         On January 5, 2015, Petitioner filed a motion in his criminal

 16   case to reduce his sentence pursuant to 18 U.S.C. 3582(c)(2) and

 17   Amendment 782.     Mendoza, No. CR 04-0155, Dkt. No. 2 (S.D. Ind.).

 18   On July 23, 2015, he filed another § 2255 motion in the same case,

 19   which the district court denied as successive on August 3, 2015.

 20   Id., Dkt. Nos. 13-14.      On May 12, 2016, the district court denied
 21   Petitioner’s motion to reduce his sentence pursuant to 18 U.S.C.

 22   3582(c)(2) and Amendment 782.          Id., Dkt. No. 28.

 23

 24         On August 6, 2017, Petitioner filed a habeas petition in this

 25   Court, purportedly pursuant to 28 U.S.C. § 2241.                 (Mendoza v.

 26   Entzel, CV 17-6010 JLS (SS), Dkt. No. 1 (C.D. Cal.)).              The Court
 27   construed the petition as a disguised § 2255 motion that it lacked

 28   jurisdiction to review.         (Id., Dkt. No. 6 at 4-9).          The Court

                                              4
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 5 of 17 Page ID #:118



  1   further   determined    that   transfer    to    the   sentencing   court     was

  2   inappropriate because the petition was untimely and successive.

  3   (Id. at 9-12). Thus, on June 8, 2018, the Court denied the petition

  4   and dismissed the action without prejudice.            (Id., Dkt. Nos. 6, 8-

  5   9).   The instant Petition followed on January 9, 2019.                (Dkt. No.

  6   1).

  7

  8                                       III.

  9                              PETITIONER’S CLAIMS

 10

 11         Petitioner claims that, pursuant to the Fourth Circuit’s

 12   decision in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011),

 13   (1) his sentencing enhancement for prior convictions under 21

 14   U.S.C. § 851 is “null and void,” and (2) his prior convictions do

 15   not qualify him as a career offender under the federal Sentencing

 16   Guidelines.    (Petition Mem. at 2, 10-17).

 17

 18                                        IV.

 19                                    DISCUSSION

 20
 21   A.    This Court Lacks Jurisdiction Because the Petition Must Be

 22         Construed as a § 2255 Motion, Which Must Be Heard in the

 23         Sentencing Court

 24

 25         “Federal courts are always under an independent obligation to

 26   examine   their   own   jurisdiction,      and   a   federal   court    may   not
 27   entertain an action over which it has no jurisdiction.”                Hernandez

 28   v. Campbell, 204 F.3d 861, 865 (9th Cir. 2000) (per curiam)

                                            5
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 6 of 17 Page ID #:119



  1   (internal quotation marks and citation omitted).                     “[T]o determine

  2   whether jurisdiction is proper, [the Court] must first determine

  3   whether a habeas petition is filed pursuant to § 2241 or § 2255

  4   before proceeding to any other issue.”              Id.     “[A] habeas petition

  5   filed pursuant to § 2241 must be heard in the custodial court,”

  6   which in this case in the Central District of California.                          Id.

  7   However, if a petition falls under § 2255, it must be brought

  8   before the sentencing court, which in this case is the Southern

  9   District of Indiana.         See id.

 10

 11         “In   general,     §     2255    provides     the    exclusive      procedural

 12   mechanism by which a federal prisoner may test the legality of

 13   detention.”    Lorentsen v. Hood, 223 F.3d 950, 953 (9th Cir. 2000).

 14   “Section 2255 allows a federal prisoner claiming that his sentence

 15   was imposed ‘in violation of the Constitution or laws of the United

 16   States’ to ‘move the court which imposed the sentence to vacate,

 17   set aside or correct the sentence.’”           Harrison v. Ollison, 519 F.3d

 18   952, 955 (9th Cir. 2008) (quoting 28 U.S.C. § 2255(a)).

 19

 20         “Under the savings clause of § 2255, however, a federal
 21   prisoner may file a habeas corpus petition pursuant to § 2241 to

 22   contest the legality of a sentence where his remedy under § 2255

 23   is   inadequate    or    ineffective      to   test       the   legality    of     his

 24   detention.”     Hernandez, 204 F.3d at 864-65 (internal quotation

 25   marks omitted); see also 28 U.S.C. § 2255(e) (an application for a

 26   writ of habeas corpus by a prisoner in federal custody must be
 27   presented to the sentencing court as a motion under § 2255 “unless

 28   it   also   appears     that   the    remedy   by   motion      is    inadequate    or

                                                6
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 7 of 17 Page ID #:120



  1   ineffective to test the legality of his detention”).               A remedy

  2   qualifies as inadequate or ineffective for purposes of § 2255’s

  3   “escape hatch” only “when a petitioner (1) makes a claim of actual

  4   innocence, and (2) has not had an unobstructed procedural shot at

  5   presenting that claim.”       Harrison, 519 F.3d at 959.       For a “claim

  6   to be a legitimate § 2241 petition,” both requirements must be

  7   satisfied.       Muth v. Fondren, 676 F.3d 815, 819 (9th Cir. 2012).

  8

  9           1.     The Petition Does Not State an Actual Innocence Claim

 10

 11           “In this circuit, a claim of actual innocence for purposes of

 12   the escape hatch of § 2255 is tested by the standard articulated

 13   by the Supreme Court in Bousley v. United States, 523 U.S. 614,

 14   623     (1998):    To   establish   actual   innocence,   petitioner    must

 15   demonstrate that, in light of all the evidence, it is more likely

 16   than not that no reasonable juror would have convicted him.            Actual

 17   innocence means factual innocence, not mere legal insufficiency.”

 18   Muth, 676 F.3d at 819 (internal quotation marks, parallel citations

 19   and brackets omitted); see also Stephens v. Herrera, 464 F.3d 895,

 20   898 (9th Cir. 2006) (a claim of actual innocence for purposes of
 21   the § 2255 escape hatch is tested under the Bousley standard).              The

 22   mere assertion that a petitioner is actually innocent, without the

 23   introduction of “evidence tending to show that he did not commit

 24   the [acts] underlying his convictions,” is insufficient to satisfy

 25   the standard.       See Marrero v. Ives, 682 F.3d 1190, 1192 (9th Cir.

 26   2012).        In addition, a petitioner may state a claim of actual
 27   innocence “when he was convicted for conduct not prohibited by

 28   law.”        Alaimalo v. United States, 645 F.3d 1042, 1047 (9th Cir.

                                             7
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 8 of 17 Page ID #:121



  1   2011) (petitioner was “actually innocent” of violating 21 U.S.C.

  2   § 952(a) where intervening en banc decision that overturned circuit

  3   precedent determined that transporting drugs between two locations

  4   under United States jurisdiction did not constitute “importation”

  5   with the meaning of the statute, even if the drugs were transported

  6   over or through international waters); see also United States v.

  7   Avery, 719 F.3d 1080, 1085 (9th Cir. 2013) (petitioner was actually

  8   innocent   of     crime   of    honest    services   fraud       where      intervening

  9   Supreme Court decision clarified that the crime to which he “pled

 10   guilty and for which he stands incarcerated is no longer a criminal

 11   offense”).

 12

 13          Unlike the petitioners in Alaimalo and Avery, who challenged

 14   the validity of their convictions, Petitioner does not argue that

 15   he is actually innocent of the crimes to which he pled guilty and

 16   for which he is currently incarcerated, nor does he argue that he

 17   is actually innocent of the underlying offenses used to enhance

 18   his    sentence.       Rather,     Petitioner      argues       that       those   prior

 19   convictions       do   not     properly    qualify       him    for    a     sentencing

 20   enhancement under 21 U.S.C. § 851 and the federal Sentencing
 21   Guidelines.       (Petition Mem. at 2, 10-17).                  Thus, the Petition

 22   present    only    a   legal    challenge     to   the    way    his   sentence     was

 23   calculated, not a factual showing that the petitioner did not

 24   commit the underlying offense. To make a claim of actual innocence,

 25   a petitioner must show that he is factually innocent, not merely

 26   that his conviction was legally insufficient.                    Muth, 676 F.3d at
 27   819.    The Ninth Circuit has explicitly held that a “purely legal

 28   claim that has nothing to do with factual innocence . . . is not a

                                                8
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 9 of 17 Page ID #:122



  1   cognizable    claim     of   ‘actual   innocence’     for   the   purposes   of

  2   qualifying to bring a § 2241 petition under the escape hatch.”

  3   Marrero, 682 F.3d at 1193 (citing with approval cases from other

  4   circuits holding that a petitioner “generally cannot assert a

  5   cognizable claim of actual innocence of a noncapital sentencing

  6   enhancement”); see also id. at 1195 (holding that “the purely legal

  7   argument that a petitioner was wrongly classified as a career

  8   offender under the Sentencing Guidelines is not cognizable as a

  9   claim of actual innocence under the escape hatch”).

 10

 11         Although    the    Ninth   Circuit    has     noted   other   circuits’

 12   suggestion that “a petitioner may qualify for the escape hatch if

 13   he received a sentence for which he was statutorily ineligible,”

 14   Marrero v. Ives, 682 F.3d 1190, 1194 (9th Cir. 2012), the Ninth

 15   Circuit has not expressly adopted that exception.            In Marrero, the

 16   court declined to “decide whether to endorse” the exception because

 17   the petition in that case did not argue that he was statutorily

 18   ineligible for his sentence.           Id. at 1195.     Regardless, even if

 19   the escape hatch could apply to a prisoner’s claim that he “received

 20   a sentence for which he was statutorily ineligible,” Petitioner
 21   does not establish such a claim.

 22

 23         Petitioner claims that a Fourth Circuit decision, United

 24   States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), renders

 25   his sentencing enhancement “null and void.”           (Petition Mem. at 2).

 26   In Simmons, the Fourth Circuit held that a prior state conviction
 27   qualified as a felony for purposes of a sentencing enhancement

 28   under the federal Sentencing Guidelines only if the particular

                                              9
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 10 of 17 Page ID #:123



   1   defendant’s prior crime of conviction was punishable under state

   2   law by a prison term exceeding one year.             Simmons, 649 F.3d 241-

   3   49.3     Here,   Petitioner   does   not    claim    that      his    prior   state

   4   convictions in Washington and California were not punishable by a

   5   prison term of more than one year.              He claims, rather, that his

   6   prior state convictions do not qualify as felonies, in light of

   7   Simmons, “because [Petitioner] was only sentenced to 90 days” for

   8   his    Washington   conviction   “and      72    days”   for    his    California

   9   conviction.      (Petition Mem. at 15).         However, Petitioner fails to

  10   cite any authority establishing that the sentence actually imposed,

  11   rather than the sentence punishable, is dispositive of whether the

  12   conviction qualifies as a felony for purposes of the sentencing

  13   enhancement imposed in his case.          See United States v. Davis, 932

  14   F.2d 752, 763 (9th Cir. 1991) (noting the “well established federal

  15   rule that a felony is an offense punishable by a maximum term of

  16

  17   3    Although Simmons is not binding on this Court, the Ninth
       Circuit recently cited the case favorably in United States v.
  18   Valencia-Mendoza, 912 F.3d 1215, 1223 (9th Cir. 2019).          In
       Valencia-Mendoza, the Ninth Circuit rejected its “earlier
  19   precedents that eschewed consideration of mandatory sentencing
       factors” when determining if a prior state conviction qualified as
  20
       a felony for purposes of the federal Sentencing Guidelines. Id.
  21   at 1224. The court concluded, rather, that “the Supreme Court has
       held that courts must consider both a crime’s statutory elements
  22   and sentencing factors when determining whether an offense is
       ‘punishable’ by a certain term of imprisonment.” Id. Under this
  23   approach, a prior state conviction qualifies as a felony under the
       Guidelines only if the particular defendant could have received a
  24   sentence of more than one year. Id. The Ninth Circuit noted that
  25   this conclusion accorded with decisions in other circuits,
       including the Fourth Circuit’s holding in Simmons. Id. at 1223.
  26   However, even if the Court construed Petitioner’s claim under this
       recent Ninth Circuit decision, it still fails because Petitioner
  27   does not show that he could not have received a sentence exceeding
       one year for his prior state convictions.
  28

                                            10
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 11 of 17 Page ID #:124



   1   imprisonment of more than one year, regardless of the sentence

   2   actually imposed”).

   3

   4         Petitioner’s failure to assert a claim of actual innocence,

   5   by itself, bars the Petition from qualifying for the § 2255 escape

   6   hatch.     Muth, 676 F.3d at 819 (availability of § 2255 escape hatch

   7   foreclosed where petition fails to make plausible showing of actual

   8   innocence).     Therefore, Petitioner’s claim may not be heard under

   9   § 2241.

  10

  11         2.     Petitioner Did Not Lack an Unobstructed Procedural Shot

  12                to Present His Claim

  13

  14         Petitioner’s attempt to qualify for the § 2255 savings clause

  15   additionally fails because Petitioner has not shown that he did

  16   not have “an unobstructed procedural shot” to present his claim.

  17   To determine whether a petitioner had an unobstructed procedural

  18   shot to pursue his claim, a court asks: “(1) whether the legal

  19   basis for Petitioner’s claim did not arise until after he had

  20   exhausted his direct appeal and first § 2255 motion; and (2) whether
  21   the law changed in any way relevant to petitioner’s claim after

  22   the first § 2255 motion.”         Harrison, 519 F.3d at 960 (emphasis

  23   added).     Here, Petitioner bases his claims on United States v.

  24   Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), a decision that

  25   the Fourth Circuit issued on August 17, 2011, almost two years

  26   before the Southern District of Indiana issued its ruling on
  27   Petitioner’s first § 2255 motion, on July 29, 2013.            See Mendoza

  28   v. United States, No. CV 11-018, Dkt. No. 8 (S.D. Ind.); see also

                                            11
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 12 of 17 Page ID #:125



   1   2013 WL 3895231, at *5.        Petitioner thus could have sought to amend

   2   his § 2255 motion to add a claim based on Simmons.                      He apparently

   3   did not do so, nor does he seem to have raised such a claim in any

   4   of the several post-conviction motions that he subsequently filed.

   5   See, e.g., Mendoza v. United States, No. CV 14-0701, Dkt. No. 2

   6   (S.D. Ind. March 13, 2014); Mendoza, No. CR 04-0155, Dkt. No. 2

   7   (S.D. Ind. Jan. 5, 2015); id., Dkt. No. 13 (S.D. Ind. July 23,

   8   2015).

   9

  10         The fact that the claim likely would have been denied as

  11   successive     does    not   mean    that     §   2255    was     an   inadequate   or

  12   ineffective remedy.          As the Ninth Circuit has explained, “it is

  13   not enough that the petitioner is presently barred from raising

  14   his claim of innocence by motion under § 2255 [because it is

  15   successive].     He must never have had the opportunity to raise it

  16   by motion.”     Ivy v. Pontesso, 328 F.3d 1057, 1060 (9th Cir. 2003);

  17   see also Castro v. Andrews, 48 F. App’x 655, 656 (9th Cir. 2002)

  18   (rejecting contention that district court’s denial of motion to

  19   amend    §   2255     petition      rendered      that    remedy       inadequate   or

  20   ineffective because “a remedy is not inadequate or ineffective on
  21   the   ground   that    the   sentencing       court      denied    relief”)   (citing

  22   Tripati v. Henman, 843 F.2d 1160, 1162 (9th Cir. 1988)).                      Indeed,

  23   as many courts have observed, “[t]he existence of the statutory

  24   bar on second and successive motions cannot mean that § 2255 is

  25   ‘inadequate     or     ineffective’      to       test     the    legality    of    [a

  26   petitioner’s] detention within the meaning of the savings clause.
  27   If it did, the savings clause would eviscerate the second or

  28   successive motions bar . . . .”          Gilbert v. United States, 640 F.3d

                                                12
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 13 of 17 Page ID #:126



   1   1293, 1308 (11th Cir. 2011); see also Prost v. Anderson, 636 F.3d

   2   578, 586 (10th Cir. 2011) (“If the rule were otherwise - if the §

   3   2255 remedial mechanism could be deemed ‘inadequate or ineffective’

   4   any time a petitioner is barred from raising a meritorious second

   5   or successive challenge to his conviction - subsection (h) would

   6   become a nullity, ‘a meaningless gesture.’”); United States v.

   7   Barrett, 178 F.3d 34, 50 (1st Cir. 1999) (“A petition under § 2255

   8   cannot become ‘inadequate or ineffective,’ thus permitting the use

   9   of § 2241, merely because a petitioner cannot meet the AEDPA ‘second

  10   or successive’ requirements.        Such a result would make Congress’s

  11   AEDPA amendment of § 2255 a meaningless gesture.”).

  12

  13         In sum, the Court concludes that the Petition does not qualify

  14   for the savings clause of § 2255.           Petitioner does not make an

  15   actual innocence claim and he has failed to demonstrate that he

  16   has not had an unobstructed procedural shot at presenting his

  17   claim.    Accordingly, the Petition may proceed only pursuant to §

  18   2255 and the only court with jurisdiction over this action is the

  19   Southern District of Indiana, the sentencing court.          See Hernandez,

  20   204 F.3d at 865 (“§ 2255 motions must be heard in the sentencing
  21   court . . . .”).

  22

  23   B.    The Petition Should Be Dismissed Rather Than Transferred

  24         Because, Construed as a § 2255 Motion, It Is Untimely and

  25         Successive

  26
  27         Because Petitioner does not qualify for the savings clause of

  28   § 2255,   his   challenge    must   be    brought   under   § 2255   in     the

                                            13
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 14 of 17 Page ID #:127



   1   jurisdiction    of   the    sentencing     court,   which   is   the   Southern

   2   District of Indiana.       See Hernandez, 204 F.3d at 865.        The transfer

   3   of civil actions among federal courts is governed by 28 U.S.C.

   4   § 1631.     Transfer is appropriate under § 1631 if three conditions

   5   are satisfied: (1) the transferring court lacks jurisdiction;

   6   (2) the transferee court could have exercised jurisdiction at the

   7   time the action was filed; and (3) the transfer is in the interest

   8   of justice.     The Ninth Circuit has ruled that § 1631 applies in

   9   habeas proceedings.        See Cruz-Aguilera v. INS, 245 F.3d 1070, 1074

  10   (9th Cir. 2001).

  11

  12         The Petition, construed as a § 2255 motion, is untimely and

  13   successive.    Accordingly, this action does not meet the second or

  14   third conditions for transfer because the Southern District of

  15   Indiana could not have exercised jurisdiction at the time the

  16   action was filed and the transfer is not in the interest of justice.

  17

  18         1.    The Petition Is Untimely

  19

  20         Construed   as   a    § 2255   motion,   the   Petition     is   patently
  21   untimely.     A federal prisoner ordinarily has only one year from

  22   the date that his conviction becomes final to file a § 2255 motion.

  23   See 28 U.S.C. § 2255(f)(1).              A case becomes final with “the

  24   conclusion of direct review or the expiration of the time for

  25   seeking such review.”        28 U.S.C. § 2244(d)(1)(A).          In this case,

  26   Petitioner’s conviction became final on January 4, 2010, ninety
  27   days after the Seventh Circuit Court of Appeals dismissed his

  28   appeal on October 6, 2009.       (See Petition at 2); see also Bowen v.

                                             14
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 15 of 17 Page ID #:128



   1   Roe, 188 F.3d 1157, 1158-59 (9th Cir. 1999) (the period of direct

   2   review for the purposes of AEDPA’s limitations period “includes

   3   the period within which a petitioner can file a petition for writ

   4   of certiorari from the United States Supreme Court”); Sup. Ct. R.

   5   13(1) (a petition for a writ of certiorari seeking review of a

   6   judgment of a United States court of appeals must be filed within

   7   90 days after the entry of judgment).

   8

   9         Section   2255   also   provides     that    the     one-year    statute   of

  10   limitations may begin to run on “the date on which the right

  11   asserted was initially recognized by the Supreme Court, if that

  12   right has been newly recognized by the Supreme Court and made

  13   retroactively applicable to cases on collateral review.”                28 U.S.C.

  14   § 2255(f)(3).    Petitioner, however, does not assert any claim here

  15   based on a right that the Supreme Court has recognized in the years

  16   since his conviction became final.               Accordingly, the statute of

  17   limitations expired on January 4, 2011, more than six and a half

  18   years before Petitioner filed this action.

  19

  20         The statute of limitations may be equitably tolled where a
  21   petitioner    shows    “(1)   that   he    has    been     pursuing    his   rights

  22   diligently, and (2) that some extraordinary circumstance stood in

  23   his way.”    Holland v. Florida, 560 U.S. 631, 645 (2010).                    Here,

  24   however, Petitioner has not established a basis for equitable

  25   tolling.    Accordingly, the Petition, construed as a § 2255 motion,

  26   is   untimely   and    transferring       this    matter    to   the   sentencing
  27   jurisdiction would be futile.

  28

                                             15
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 16 of 17 Page ID #:129



   1         2.   The Petition Is Successive

   2

   3         Finally, because Petitioner has already filed a § 2255 motion,

   4   the Petition, construed as a § 2255 motion, is successive.                          See,

   5   e.g., Mendoza, 2013 WL 3895231, at *5 (denying Petitioner’s § 2255

   6   motion).    “A petitioner is generally limited to one motion under

   7   § 2255.”    United States v. Washington, 653 F.3d 1057, 1059 (9th

   8   Cir. 2011).     “A prisoner may not bring a second or successive

   9   § 2255 motion in district court unless ‘a panel of the appropriate

  10   court of appeals’ certifies that the motion contains:                       (1) newly

  11   discovered evidence that, if proven and viewed in light of the

  12   evidence as a whole, would be sufficient to establish by clear and

  13   convincing evidence that no reasonable factfinder would have found

  14   the   movant   guilty      of   the    offense;        or   (2)   a   new    rule    of

  15   constitutional law, made retroactive to cases on collateral review

  16   by the Supreme Court, that was previously unavailable.”                     Harrison,

  17   519 F.3d at 955 (quoting 28 U.S.C. § 2255(h)).                Accordingly, unless

  18   and until Petitioner obtains authorization from the Seventh Circuit

  19   to file another § 2255 motion, the Southern District of Indiana

  20   lacks jurisdiction to hear his claim.
  21

  22         The Southern District of Indiana could not have exercised

  23   jurisdiction    at   the    time      this    action    was   filed.        As   such,

  24   transferring the action would not further the interests of justice

  25   and the Court should dismiss the Petition.

  26
  27

  28

                                                16
Case 5:19-cv-00106-JLS-SS Document 12 Filed 06/14/19 Page 17 of 17 Page ID #:130



   1                                        V.

   2                                 RECOMMENDATION

   3

   4         IT IS RECOMMENDED that the District Court issue an Order:

   5   (1) accepting     and   adopting    this    Report   and   Recommendation;

   6   (2) granting Respondent’s Motion to Dismiss (Dkt. No. 6); (3)

   7   denying the Petition; and (4) directing that Judgment be entered

   8   dismissing this action without prejudice for lack of jurisdiction.

   9

  10   DATED:    June 14, 2019

  11
                                                          /s/         __________
  12                                              SUZANNE H. SEGAL
                                                  UNITED STATES MAGISTRATE JUDGE
  13

  14

  15                                      NOTICE

  16

  17         Reports and Recommendations are not appealable to the Court

  18   of Appeals, but may be subject to the right of any party to file

  19   objections as provided in the Local Rules Governing the Duties of

  20   Magistrate Judges and review by the District Judge whose initials
  21   appear in the docket number.       No notice of appeal pursuant to the

  22   Federal Rules of Appellate Procedure should be filed until entry

  23   of the judgment of the District Court.

  24

  25

  26
  27

  28

                                            17
